                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                 1:20-cv-00264-RJC

MICHAEL HIGGINS,                          )
                                          )
                   Plaintiff,             )
                                          )
vs.                                       )                          ORDER
                                          )
ANDREW SAUL,                              )
Commissioner of Social Security,          )
                                          )
                   Defendant.             )
_________________________________________ )

         THIS MATTER is before the Court on Plaintiff’s Pro Se Motion to Proceed in Forma

Pauperis. [Doc. 2].

         In this matter, Plaintiff is seeking review of a final determination of the Commissioner of

Social Security denying Plaintiff’s claim for period of disability and disability insurance benefits

under the Social Security Act. [Doc. 1]. Plaintiff’s affidavit shows that Plaintiff and his spouse

have had a combined average monthly income of $3,406.00 during the past twelve months and

that they expect to receive the same income next month. [Doc. 2 at 1-2]. Plaintiff reports

combined total monthly expenses of $4,135.00, which includes $921.00 in car payments and

inexplicably includes $1,250.00 for homeowners and motor vehicle insurance. [Id. at 4-5].

Plaintiff reports that his 15-year-old son and 20-year-old daughter rely on him and his spouse for

support, but he does not explain why his 20-year-old daughter cannot provide her own support or

when she contributes to the family income. [Id. at 3]. Plaintiff reports that he and his spouse have

a home valued at $45,000.00 and two motor vehicles with a combined value of $34,000.00. [Id.

at 3].



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       The Court is not satisfied that Plaintiff does not have sufficient funds with which to pay

the filing fee. The U.S. Department of Health and Human Services Poverty Guidelines for 2020

provide that the annual poverty guideline for a family of four is $26,200.00. Plaintiff and his

spouse have a combined annual income of $40,872.00, well above the poverty threshold. Given

this and Plaintiff’s other circumstances, the Court will deny Plaintiff’s motion.

        IT IS, THEREFORE, ORDERED that:
       (1)      Plaintiff’s Pro Se Motion to Proceed in Forma Pauperis [Doc. 2] is DENIED.

       (2)      Plaintiff must pay the $400.00 filing fee within 30 days of this Order or his action

                will be dismissed without prejudice and without further notice to Plaintiff.

 Signed: September 25, 2020




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